          Case 2:25-cv-00727-JCM-DJA            Document 1       Filed 04/25/25   Page 1 of 6




 1   TREY A. ROTHELL, ESQ.
     Nevada Bar No.: 15993
 2   ARMSTRONG TEASDALE LLP
     7160 Rafael Rivera Way, Suite 320
 3   Las Vegas, Nevada 89113
     Telephone: 702.678.5070
 4   Facsimile: 702.878.9995
     trothell@atllp.com
 5
     Attorney for Plaintiffs
 6
                                     UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
     BROADCAST MUSIC, INC., as agent for
 9   Broadcast Music, LLC; WARNER-
     TAMERLANE PUBLISHING CORP.;                               Case No.: ________________
                                                                          2:25-cv-00727
10   UNICHAPPEL MUSIC INC.; SONY/ATV
     SONGS LLC d/b/a SONY/ATV ACUFF
11   ROSE MUSIC; HIP CITY MUSIC INC.; and
     HIFROST PUBLISHING,                                                 COMPLAINT
12
                       Plaintiffs,
13
         vs.
14
     PURE MEXICAN GRILL, LLC d/b/a
15   MARIPOSA COCINA & COCKTAILS;
     TONY SAROYA, an individual; YOGENDRA
16   SOLANKI, an individual; RAJA MITTAL, an
     individual, and SURJIT HEERA, an individual,
17
                       Defendants.
18

19

20             Plaintiffs Broadcast Music, Inc., as agent for Broadcast Music, LLC, Warner-Tamerlane

21   Publishing Corp., Unichappel Music Inc., Sony/ATV Songs LLC d/b/a Sony/ATV Acuff Rose

22   Music, Hip City Music Inc., and Hifrost Publishing (collectively, “Plaintiffs”), by and through

23   their counsel of record, Armstrong Teasdale LLP, hereby make their Complaint against

24   Defendants Pure Mexican Grill, LLC d/b/a Mariposa Cocina & Cocktails, Tony Saroya, Yogendra

25   Solanki, Raja Mittal, and Surjit Heera (collectively, “Defendants”), and allege as follows (on

26   knowledge as to Plaintiffs; otherwise on information and belief):

27

                                                   -1-
                                                 Complaint
          Case 2:25-cv-00727-JCM-DJA                Document 1      Filed 04/25/25     Page 2 of 6




 1                                     JURISDICTION AND VENUE
 2           1.      This is a suit for copyright infringement under the United States Copyright Act of
 3   1976, as amended, 17 U.S.C. §§ 101, et seq. (the “Copyright Act”). This Court has jurisdiction
 4   pursuant to 28 U.S.C. § 1338(a).
 5           2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(a). The
 6   Unofficial Southern Division of this District is the proper venue for this action pursuant to LR IA
 7   1-6 and LR IA 1-8(a).
 8                                               THE PARTIES
 9           3.      Plaintiff Broadcast Music, Inc. (“BMI”), is a corporation organized and existing
10   under the laws of the State of Delaware. BMI’s principal place of business is 7 World Trade Center,
11   250 Greenwich Street, New York, New York 10007. BMI, as agent for Broadcast Music, LLC,
12   has been granted the right to license the public performance rights in 22.4 million copyrighted
13   musical compositions (the “BMI Repertoire”), including those which are alleged herein to have
14   been infringed.
15           4.      The Plaintiffs other than BMI are the owners of the copyrights in the musical
16   compositions, which are the subject of this lawsuit. All Plaintiffs are joined pursuant to Fed. R.
17   Civ. P. 17(a) and 19(a).
18           5.      Plaintiff Warner-Tamerlane Publishing Corp. is a corporation. This Plaintiff is a
19   copyright owner of at least one of the songs in this matter.
20           6.      Plaintiff Unichappell Music Inc. is a corporation. This Plaintiff is a copyright owner
21   of at least one of the songs in this matter.
22           7.      Plaintiff Sony/ATV Songs LLC is a limited liability company doing business as
23   Sony/ATV Acuff Rose Music. This Plaintiff is a copyright owner of at least one of the songs in
24   this matter.
25           8.      Plaintiff Hip City Music Inc. is a corporation. This Plaintiff is a copyright owner of
26   at least one of the songs in this matter.
27

                                                      -2-
                                                    Complaint
          Case 2:25-cv-00727-JCM-DJA              Document 1        Filed 04/25/25      Page 3 of 6




 1           9.       Plaintiff Hifrost Publishing is a partnership. This Plaintiff is a copyright owner of
 2   at least one of the songs in this matter.
 3           10.      Defendant Pure Mexican Grill, LLC is a limited liability company organized and
 4   existing under the laws of the state of Nevada, which operates, maintains, and controls an
 5   establishment known as Mariposa Cocina & Cocktails, located at 2575 S. Decatur Blvd, Las
 6   Vegas, NV 89102, in this district (the “Establishment”).
 7           11.      In connection with the operation of the Establishment, Defendant Pure Mexican
 8   Grill, LLC publicly performs musical compositions and/or causes musical compositions to be
 9   publicly performed.
10           12.      Defendant Pure Mexican Grill, LLC has a direct financial interest in the
11   Establishment.
12           13.      Defendant Tony Saroya is a managing member of Defendant Pure Mexican Grill,
13   LLC with responsibility for the operation and management of that limited liability company and
14   the Establishment.
15           14.      Defendant Tony Saroya has the right and ability to supervise the activities of
16   Defendant Pure Mexican Grill, LLC and a direct financial interest in that LLC and the
17   Establishment.
18           15.      Defendant Yogendra Solanki is a managing member of Defendant Pure Mexican
19   Grill, LLC with responsibility for the operation and management of that limited liability company
20   and the Establishment.
21           16.      Defendant Yogendra Solanki has the right and ability to supervise the activities of
22   Defendant Pure Mexican Grill, LLC and a direct financial interest in that LLC and the
23   Establishment.
24           17.      Defendant Raja Mittal is a managing member of Defendant Pure Mexican Grill,
25   LLC with responsibility for the operation and management of that limited liability company and
26   the Establishment.
27

                                                     -3-
                                                   Complaint
          Case 2:25-cv-00727-JCM-DJA             Document 1      Filed 04/25/25     Page 4 of 6




 1          18.       Defendant Raja Mittal has the right and ability to supervise the activities of
 2   Defendant Pure Mexican Grill, LLC and a direct financial interest in that LLC and the
 3   Establishment.
 4          19.       Defendant Surjit Heera is a managing member of Defendant Pure Mexican Grill,
 5   LLC with responsibility for the operation and management of that limited liability company and
 6   the Establishment.
 7          20.       Defendant Surjit Heera has the right and ability to supervise the activities of
 8   Defendant Pure Mexican Grill, LLC and a direct financial interest in that LLC and the
 9   Establishment.
10                            CLAIMS OF COPYRIGHT INFRINGEMENT
11          21.       Plaintiffs repeat and reallege each of the allegations contained in paragraphs 1
12   through 20.
13          22.       Since December 2022, BMI has reached out to Defendants over fifty times, by
14   phone, mail, and email, in an effort to educate Defendants as to their obligations under the
15   Copyright Act with respect to the necessity of purchasing a license for the public performance of
16   musical compositions in the BMI Repertoire. Included in the letters were Cease and Desist Notices,
17   providing Defendants with formal notice that they must immediately cease all use of BMI-licensed
18   music in the Establishment.
19          23.       Plaintiffs allege six claims of willful copyright infringement, based upon
20   Defendants’ unauthorized public performance of musical compositions from the BMI Repertoire.
21   All of the claims for copyright infringement joined in this Complaint are governed by the same
22   legal rules and involve similar facts. Joinder of these claims will promote the convenient
23   administration of justice and will avoid a multiplicity of separate, similar actions against
24   Defendants.
25          24.       Annexed to this Complaint as a schedule (the “Schedule”), attached hereto as
26   Exhibit 1, and incorporated herein is a list identifying some of the many musical compositions
27   whose copyrights were infringed by Defendants. The Schedule contains information on the six

                                                    -4-
                                                  Complaint
          Case 2:25-cv-00727-JCM-DJA             Document 1        Filed 04/25/25      Page 5 of 6




 1   claims of copyright infringement at issue in this action. Each numbered claim has the following
 2   eight lines of information (all references to “Lines” are lines on the Schedule): Line 1 providing
 3   the claim number; Line 2 listing the title of the musical composition related to that claim; Line 3
 4   identifying the writer(s) of the musical composition; Line 4 identifying the publisher(s) of the
 5   musical composition and the plaintiff(s) in this action pursuing the claim at issue; Line 5 providing
 6   the date on which the copyright registration was issued for the musical composition; Line 6
 7   indicating the copyright registration number(s) for the musical composition; Line 7 showing the
 8   date(s) of infringement; and Line 8 identifying the Establishment where the infringement occurred.
 9          25.     For each work identified on the Schedule, the person(s) named on Line 3 was the
10   creator of that musical composition.
11          26.     For each work identified on the Schedule, on or about the date(s) indicated on
12   Line 5, the publisher(s) named on Line 4 (including any predecessors in interest), complied in all
13   respects with the requirements of the Copyright Act and received from the Register of Copyrights
14   Certificates of Registration bearing the number(s) listed on Line 6.
15          27.     For each work identified on the Schedule, on the date(s) listed on Line 7, Plaintiff
16   BMI was (and still is) the licensor of the public performance rights in the musical composition
17   identified on Line 2. For each work identified on the Schedule, on the date(s) listed on Line 7, the
18   Plaintiff(s) listed on Line 4 was (and still is) the owner of the copyright in the respective musical
19   composition listed on Line 2.
20          28.     For each work identified on the Schedule, on the date(s) listed on Line 7,
21   Defendants publicly performed and/or caused to be publicly performed at the Establishment the
22   musical composition identified on Line 2 without a license or permission to do so. Thus,
23   Defendants have committed copyright infringement.
24          29.     The specific acts of copyright infringement alleged in the Complaint, as well as
25   Defendants’ entire course of conduct, have caused and are causing Plaintiffs great and incalculable
26   damage. By continuing to provide unauthorized public performances of works in the BMI
27   Repertoire at the Establishment, Defendants threaten to continue committing copyright

                                                    -5-
                                                  Complaint
            Case 2:25-cv-00727-JCM-DJA           Document 1        Filed 04/25/25       Page 6 of 6




 1   infringement. Unless this Court restrains Defendants from committing further acts of copyright
 2   infringement, Plaintiffs will suffer irreparable injury for which they have no adequate remedy at
 3   law.
 4                                       PRAYER FOR RELIEF
 5           WHEREFORE, Plaintiffs pray that:
 6           A.     Defendants, their agents, servants, employees, and all persons acting under their
 7   permission and authority, be enjoined and restrained from infringing, in any manner, the
 8   copyrighted musical compositions licensed by BMI, pursuant to 17 U.S.C. § 502;
 9           B.     Defendants be ordered to pay statutory damages, pursuant to 17 U.S.C. § 504(c);
10           C.     Defendants be ordered to pay costs, including reasonable attorneys’ fees, pursuant
11   to 17 U.S.C. § 505; and
12           D.     Plaintiffs have such other and further relief as is just and equitable.
13

14           Dated: April 25, 2025.                 ARMSTRONG TEASDALE LLP
15                                                  By: /s/ Trey A. Rothell
                                                       TREY A. ROTHELL, ESQ.
16
                                                       Nevada Bar No.: 15993
17                                                     7160 Rafael Rivera Way, Suite 320
                                                       Las Vegas, Nevada 89113
18
                                                    Attorney for Plaintiffs
19
20

21

22

23

24

25

26

27

                                                    -6-
                                                  Complaint
